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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA

JASON ALTHEIDE,                  )                      3:18-CV-0408-MMD-CLB
                                 )
           Plaintiff,            )                      MINUTES OF THE COURT
                                 )
      vs.                        )                      June 2, 2020
                                 )
WILLIAM MOORE, et al.,           )
                                 )
           Defendants.           )
________________________________ )

PRESENT: THE HONORABLE CARLA BALDWIN, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:                LISA MANN             REPORTER: NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

       Plaintiff filed a motion to refile his motion for summary judgment (ECF No. 45) and
his supplement thereto (ECF No. 60). Defendants filed a response stating they have no
opposition other than the date it is considered refiled (ECF No. 74). Therefore, plaintiff’s
motion (ECF No. 72) is GRANTED.

       The Clerk shall refile ECF Nos. 45 & 60 under new docket numbers dated June 2,
2020. The deadline to file an opposition to plaintiff’s motion for summary judgment will be
calculated from June 19, 2020. Therefore, an opposition is due on or before Friday, July
10, 2020. The reply shall be due on or before Friday, July 24, 2020.

        Plaintiff’s motion for second supplement (ECF No. 76) is GRANTED. However, the
court will not permit any further supplements to his motion for summary judgment. If
plaintiff wishes to further supplement his motion, he must withdraw his motion in its entirety
and resubmit a new motion.

       IT IS SO ORDERED.

                                                 DEBRA K. KEMPI, CLERK

                                          By:             /s/
                                                 Deputy Clerk
